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                   EXHIBIT O
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                           Office of the Press Secretary
FOR IMMEDIATE RELEASE
August 14, 2020


                                     ORDER


                                - - - - - - -


      REGARDING THE ACQUISITION OF MUSICAL.LY BY BYTEDANCE LTD.




       By the authority vested in me as President by the
Constitution and the laws of the United States of America,
including section 721 of the Defense Production Act of 1950, as
amended (section 721), 50 U.S.C. 4565, it is hereby ordered as
follows:


       Section 1.   Findings.     (a)    There is credible evidence that
leads me to believe that ByteDance Ltd., an exempted company with
limited liability incorporated under the laws of the Cayman
Islands ("ByteDance"), through acquiring all interests in
musical.ly, an exempted company with limited liability
incorporated under the laws of the Cayman Islands ("Musical.ly"),
might take action that threatens to impair the national security
of the United States.      As a result of the acquisition, ByteDance
merged its TikTok application with Musical.ly's social media
application and created a single integrated social media
application; and
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     (b)   Provisions of law, other than section 721 and the
International Emergency Economic Powers Act (50 U.S.C. 1701 et
seq.), do not, in my judgment, provide adequate and appropriate
authority for me to protect the national security in this matter.


     Sec. 2.     Actions Ordered and Authorized.        On the basis of
the findings set forth in section 1 of this order, considering
the factors described in subsection (f) of section 721, as
appropriate, and pursuant to my authority under applicable law,
including section 721, I hereby order that:


     (a)   The transaction resulting in the acquisition by
ByteDance of Musical.ly, to the extent that Musical.ly or any of
its assets is used in furtherance or support of, or relating to,
Musical.ly's activities in interstate commerce in the United
States ("Musical.ly in the United States"), is hereby prohibited,
and ownership by ByteDance of any interest in Musical.ly in the
United States, whether effected directly or indirectly through
ByteDance, or through ByteDance's subsidiaries, affiliates, or
Chinese shareholders, is also prohibited.


     (b)   In order to effectuate this order, not later than 90
days after the date of this order, unless such date is extended
for a period not to exceed 30 days, on such written conditions as
the Committee on Foreign Investment in the United States (CFIUS)
may impose, ByteDance, its subsidiaries, affiliates, and Chinese
shareholders, shall divest all interests and rights in:


           (i)     any tangible or intangible assets or property,
wherever located, used to enable or support ByteDance's operation
of the TikTok application in the United States, as determined by
the Committee; and
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            (ii)   any data obtained or derived from TikTok
application or Musical.ly application users in the United
States.    Immediately upon divestment, ByteDance shall certify in
writing to CFIUS that all steps necessary to fully and
permanently effectuate the actions required under sections 2(a)
and 2(b) have been completed.


     (c)    Immediately upon divestment, ByteDance shall certify in
writing to CFIUS that it has destroyed all data that it is
required to divest pursuant to section 2(b)(ii), as well as all
copies of such data wherever located, and CFIUS is authorized to
require auditing of ByteDance on terms it deems appropriate in
order to ensure that such destruction of data is complete.


     (d)    ByteDance shall not complete a sale or transfer under
section 2(b) to any third party:


            (i)    until ByteDance notifies CFIUS in writing of the
intended recipient or buyer; and


            (ii)   unless 10 business days have passed from the
notification in section 2(d)(i) and CFIUS has not issued an
objection to ByteDance.      Among the factors CFIUS may consider in
reviewing the proposed sale or transfer are whether the buyer or
transferee:    is a U.S. citizen or is owned by U.S. citizens; has
or has had a direct or indirect contractual, financial, familial,
employment, or other close and continuous relationship with
ByteDance, or its officers, employees, or shareholders; and can
demonstrate a willingness and ability to support compliance with
this order.    In addition, CFIUS may consider whether the proposed
sale or transfer would threaten to impair the national security
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of the United States or undermine the purpose of this order, and
whether the sale effectuates, to CFIUS's satisfaction and in its
discretion, a complete divestment of all tangible or intangible
assets or property, wherever located, used to enable or support
the operation of the TikTok application in the United States.


     (e)   From the date of this order until ByteDance provides a
certification of divestment to CFIUS pursuant to section 2(b),
ByteDance and TikTok Inc., a Delaware corporation, shall certify
to CFIUS on a weekly basis that they are in compliance with this
order and include a description of efforts to divest the
interests and rights described in section 2(b) and a timeline for
projected completion of remaining actions.


     (f)   Any transaction or other device entered into or
employed for the purpose of, or with the effect of, evading or
circumventing this order is prohibited.


     (g)   Without limitation on the exercise of authority by
any agency under other provisions of law, and until such time as
the divestment is completed and verified to the satisfaction of
CFIUS, CFIUS is authorized to implement measures it deems
necessary and appropriate to verify compliance with this order
and to ensure that the operations of the TikTok application are
carried out in such a manner as to ensure protection of the
national security interests of the United States.            Such measures
may include the following:       on reasonable notice to ByteDance and
TikTok Inc., employees of the United States Government, as
designated by CFIUS, shall be permitted access, for purposes of
verifying compliance with this order, to all premises and
facilities of ByteDance and TikTok Inc., and any of their
respective subsidiaries, operated in furtherance of the TikTok
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application located in the United States:


             (i)      to inspect and copy any books, ledgers,
accounts, correspondence, memoranda, and other records and
documents in the possession or under the control of ByteDance or
TikTok Inc., or any of their respective subsidiaries, that
concern any matter relating to this order;


             (ii)     to inspect or audit any information systems,
networks, hardware, software, data, communications, or property
in the possession or under the control of ByteDance or TikTok
Inc., or any of their respective subsidiaries; and


             (iii)    to interview officers, employees, or agents of
ByteDance or TikTok Inc., or any of their respective
subsidiaries, concerning any matter relating to this
order.     CFIUS shall conclude its verification procedures within
90 days after the certification of divestment is provided to
CFIUS pursuant to subsection (b) of this section.


     (h)     If any provision of this order, or the application of
any provision to any person or circumstances, is held to be
invalid, the remainder of this order and the application of its
other provisions to any other persons or circumstances shall not
be affected thereby.       If any provision of this order, or the
application of any provision to any person of circumstances, is
held to be invalid because of the lack of certain procedural
requirements, the relevant executive branch officials shall
implement those procedural requirements.


             (i)    The Attorney General is authorized to take any
steps necessary to enforce this order.
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        Sec. 3.        Reservation.            I hereby reserve my authority to
issue further orders with respect to ByteDance, Musical.ly,
Musical.ly in the United States, and TikTok Inc. as shall in my
judgment be necessary to protect the national security.


        Sec. 4.        Publication and Transmittal.                       (a)     This order shall
be published in the Federal Register.


        (b)     I hereby direct the Secretary of the Treasury to
transmit a copy of this order to the appropriate parties named in
section 1 of this order.


                                                                    DONALD J. TRUMP


THE WHITE HOUSE,
      August 14, 2020.




The White House · 1600 Pennsylvania Ave NW · Washington, DC 20500-0003 · USA · 202-456-1111
